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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-328V
                                          UNPUBLISHED


    ROBERT VASQUEZ,                                             Chief Special Master Corcoran

                         Petitioner,                            Filed: August 24, 2020
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Guillain-
                                                                Barre Syndrome (GBS)
                         Respondent.


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
petitioner.

Sarah Christina Duncan, U.S. Department of Justice, Washington, DC, for respondent.


                                 DECISION AWARDING DAMAGES1

       On March 4, 2019, Robert Vasquez filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he suffered Guillain-Barre Syndrome (“GBS”) as a
result of an influenza (“flu”) vaccine administered on January 3, 2017. Petition at 1. The
case was assigned to the Special Processing Unit of the Office of Special Masters.

        On April 14, 2020, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for his GBS. On August 21, 2020, Respondent filed a proffer on award of
compensation (“Proffer”) indicating Petitioner should be awarded $256,326.90. Proffer at
2. In the Proffer, Respondent represented that Petitioner agrees with the proffered award.


1  Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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Id. at 1-2. Based on the record as a whole, I find that Petitioner is entitled to an award as
stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $256,326.90 (representing compensation in the amount of
$225,000.00 for pain and suffering and $31,326.90 for past lost earnings) in the form
of a check payable to Petitioner. This amount represents compensation for all damages
that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS

                                                    )
 ROBERT VASQUEZ,                                    )
                                                    )
                  Petitioner,                       )
                                                    )    No. 19-328V
 v.                                                 )    Chief Special Master Corcoran
                                                    )    ECF
 SECRETARY OF HEALTH AND HUMAN                      )
 SERVICES,                                          )
                                                    )
                  Respondent.                       )
                                                    )

               RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

          On March 4, 2019, Robert Vasquez (“petitioner”) filed a petition for compensation under

the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34 (“Vaccine Act”

or “Act”), as amended. Petitioner alleges that he suffered Guillain-Barré syndrome (“GBS”), a

“Table Case,” as a result of an influenza (“flu”) vaccine administered to him on January 3, 2017.

Petition at 1. On April 9, 2020, the Secretary of Health and Human Services (“respondent”) filed

a Rule 4(c) Report recommending that compensation be awarded, and the Chief Special Master

issued a Ruling on Entitlement finding petitioner entitled to compensation on April 14, 2020.

ECF No. 21; ECF No. 22.

I.        Items of Compensation

          A.     Pain and Suffering

          Respondent proffers that petitioner should be awarded $225,000.00 in actual and

projected pain and suffering. This amount reflects that the award for projected pain and

suffering has been reduced to net present value. See 42 U.S.C. § 300aa-15(a)(4). Petitioner

agrees.
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       B.       Lost Earnings

       The parties agree that based upon the evidence of record, petitioner has suffered actual

loss of earnings. Therefore, respondent proffers that petitioner should be awarded actual lost

earnings as provided under the Vaccine Act, 42 U.S.C. § 300aa-15(a)(3)(A). Respondent

proffers that the appropriate award for petitioner’s lost earnings is $31,326.90. Petitioner agrees.

       These amounts represent all elements of compensation to which petitioner is entitled

under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following1: a lump sum payment of $256,326.90, representing

compensation for pain and suffering ($225,000.00) and past lost earnings ($31,326.90), in the

form of a check payable to petitioner, Robert Vasquez.

III.   Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, Robert Vasquez:                               $ 256,326.90

                                              Respectfully submitted,

                                              ETHAN P. DAVIS
                                              Acting Assistant Attorney General

                                              C. SALVATORE D’ALESSIO
                                              Acting Director
                                              Torts Branch, Civil Division




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
                                                 2
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                                  CATHARINE E. REEVES
                                  Deputy Director
                                  Torts Branch, Civil Division

                                  HEATHER L. PEARLMAN
                                  Assistant Director
                                  Torts Branch, Civil Division

                                  s/ Sarah C. Duncan
                                  SARAH C. DUNCAN
                                  Trial Attorney
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DATED: August 21, 2020




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